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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                        DALLAS

KARINA-PATRICIA MARANCA,                                )
                                                        )
                Plaintiff,                              )
                                                        )
        vs.                                             )       Case No. 3:18-cv-2149
                                                        )
CHASE BANK USA, N.A.,                                   )
                                                        )
                Defendant.                              )

                                            COMPLAINT

        NOW COMES Plaintiff, KARINA-PATRICIA MARANCA (“Plaintiff”), by her

attorneys, and hereby alleges the following against CHASE BANK USA, N.A. (“Defendant”):

                                          INTRODUCTION

        1.      This action is brought pursuant to the Telephone Consumer Protection Act

(“TCPA”), 47 U.S.C. § 227 et seq.

                                  JURISDICTION AND VENUE

        2.      Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and 47 U.S.C. § 227.

        3.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the acts and transactions

giving rise to this action occurred in this district as Plaintiff resides in this district and Defendant

transactions business in this district.

                                              PARTIES

        4.      Plaintiff is a natural person residing in Rowlett, Texas.

        5.      Defendant is a business entity with a business office located in Wilmington,

Delaware.
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          6.    Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS

          7.    In 2017, Defendant started calling (972) 971-80XX.

          8.    Telephone number (972) 971-80XX is assigned to a cellular telephone.

          9.    Telephone number (972) 971-80XX is Plaintiff’s cellular telephone.

          10.   Defendant’s calls were related to a credit card.

          11.   These calls were for a non-emergency purpose.

          12.   Upon information and good faith belief, based on the frequency, number, nature

and character of these calls, Defendant placed them by using an automatic telephone dialing

system.

          13.   On or about January 16, 2018, Plaintiff instructed Defendant, through its

employee, representative, or agent, to stop calling her.

          14.   Defendant continued to use an automatic telephone dialing system to call

Plaintiff’s cell phone.

          15.   After January 16, 2018, Defendant used an automatic telephone dialing system to

call Plaintiff’s cellular telephone at least seventy-two (72) times.

          16.   Defendant called Plaintiff’s cell phone multiple times per day.

          17.   Defendant willfully and voluntarily used an automatic telephone dialing system

to place these calls.

          18.   Defendant intended to use an automatic telephone dialing system to place these

calls.




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       19.      Defendant did not have Plaintiff’s express consent to use an automatic telephone

dialing system to place these calls.

       20.      Plaintiff is annoyed and feels harassed by Defendant’s calls.

                            COUNT I
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

       21.      Defendant’s actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B).

       22.      Defendant’s actions alleged supra constitute numerous and multiple knowing

and/or willful violations of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

       WHEREFORE, Plaintiff, KARINA-PATRICIA MARANCA, respectfully requests

judgment be entered against Defendant, CHASE BANK USA, N.A., for the following:

       23.      Statutory damages of $500.00 for each and every negligent violation of the

TCPA pursuant to 47 U.S.C. § (b)(3)(B),

       24.      Statutory damages of $1500.00 for each and every knowing and/or willful

violation of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C),

       25.      All court costs, witness fees and other fees incurred,

       26.      Any other relief that this Honorable Court deems appropriate.




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                                          Respectfully submitted,

Dated: August 15, 2018                    /s/ Adam T. Hill
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